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CASE NAME:                U.S. Vs. Steven B. Mell

INVESTIGATOR:              Daniel Coleman

REPORT OF:                 Interviews of Evan Van Gilson

DATE:                      June 11, 2018


May 21, 2018, Monday
1:05 PM
          -As requested by the Bianchi Law Group, the undersigned investigator conducted an
          interview of Evan Van Gilson, 20 Rummel Road, Milford, NJ, (908) 399-7215.
          The interview was conducted at 450 Springfield Avenue, Summit, NJ. Mr. Van Gilson
          is a long-term associate of Steven Bradley Mell and owns an aviation business. Mr.
          Van Gilson is a former law enforcement officer and his father was the former police
          chief of Holland Township, NJ. Mr. Van Gilson and Mr. Mell have a business
          arrangement regarding aircraft that are owned by an aviation company owned by
          AERO Care Services, LLC.

            Mr. Van Gilson reported that he had conversations with Steven Bradley Mell
            regarding coyotes on his property. Mr. Van Gilson stated that he recalled the
            conversation about the coyotes with Mr. Mell began in the first week of May, 2018.
            Mr. Van Gilson stated that he and Mr. Mell attended a three day helicopter
            instruction course at Northeast Philadelphia Airport, 05/03/2018 through
            03/05/2018. Mr. Van Gilson flew to Mr. Mell’s residence (Mr. Mell’s residence has a
            helipad) on the morning of May 3, 2018. Mr. Van Gilson recalls saying to Mr. Mell
            that he should keep his new puppy (Mr. Van Gilson described it as a husky mix
            breed), away from the tail rotor of the helicopter, as the dog could be struck by the
            rotor. Mr. Mell then proceeded to tell Mr. Van Gilson about an incident that he had
            involving two coyotes and his dog. Mr. Mell said to Mr. Van Gilson, “Hey, last night I
            had two coyotes in the yard.” Mr. Van Gilson responded, “Why didn’t you shoot it?”
            Mr. Mell told him that he did not have a gun and Mr. Van Gilson stated, “You should
            get one.” Mr. Mell told him that the incident took place during the daytime and the
            coyotes were 100 yards from Mr. Mell and his dog. Mr. Van Gilson told Mr. Mell that
            the situation was potentially very dangerous, as coyotes are nocturnal animals and
            not usually outside during the day. Mr. Van Gilson lives in a rural area and is aware
            of the threat that coyotes pose to family pets. They then discussed purchasing a long


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         gun (rifle) to protect his (Mr. Mell’s) property. Mr. Mell then proceeded to tell Mr.
         Van Gilson that he did not know where his NJ firearms ID card was. Mr. Van Gilson
         advised him that he can get a replacement ID card, which he would have to get in
         any case, because of his change of address from when he first obtained his ID card.
         Mr. Van Gilson told Mr. Mell that after he received a replacement firearms ID card
         he would take Mr. Mell to Cabela’s in Pennsylvania, to purchase a long gun.

         Mr. Van Gilson detailed his relationship with Mr. Mell regarding the aircraft owned
         by AERO Care Services, LLC and WNFW, LLC. Mr. Van Gilson and his wife own
         Platinum Helicopters, LLC, a business that provides helicopter services including
         charter service, instruction, aerial photography and tours. Mr. Van Gilson stated that
         AERO Care Services, LLC owns two airplanes and WNFW, LLC owns one helicopter.
         Mr. Van Gilson’s company owns four helicopters. All five (5) helicopters (including
         the one owned by WNFW, LLC) are housed at Princeton Airport, specifically at Mr.
         Van Gilson’s hangar. Mr. Mell does not have any access to Mr. Van Gilson’s hangar
         or permission to enter Princeton Airport’s facilities. Mr. Van Gilson utilizes three
         contract pilots for his helicopter aviation business. None of these pilots know Mr.
         Mell, nor does Mr. Mell know these three pilots. Mr. Van Gilson stated that he is
         also able to change the locks to the cabin of the WNFW, LLC helicopter so that he
         cannot access it. Further, Mr. Van Gilson is the only person licensed and insured to
         fly the helicopter owned by WNFW, LLC.

         AERO Care Services, LLC also owns a fixed wing airplane, King Air 200, a twin turbo
         propeller plane. This plane is housed at Somerset Airport in a hangar shared with
         another individual. The hangar is secured by the airport and a tug is needed to bring
         the plane out of the hangar. The airport is able to re-key the hangar, restricting
         access to Mr. Mell. Further, the NJ State Police hangar is adjacent to this hangar, and
         that hangar is manned 24 hours a day by State Police personnel.

         AERO Care Services, LLC also owns a jet. This jet is housed at Lehigh Valley
         International Airport in Allentown, PA, which he described as a “major airport.”
         Neither Mr. Van Gilson nor Mr. Mell know how to fly the jet and Mr. Van Gilson
         stated that Mr. Mell would probably crash the jet if he attempted to pilot it.

         1:55 PM, the interview was concluded



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June 7, 2018, Monday
3:00 PM
           -The undersigned investigator conducted a follow-up interview of Evan Van Gilson,
           20 Rummel Road, Milford, NJ, (908) 399-7215. Since our prior interview, Van Gilson
           changed the locks on both hangar doors (Princeton Airport and two door locks at
           Somerset Airport), to ensure that Mr. Mell could not gain access to any of the
           aircraft housed either hangar.

            Mr. Van Gilson also stated that he changed the lock on the tug required to pull the
            fixed wing airplane, the King Air 200 from the Somerset Airport hangar.




Daniel Coleman
Owner, Creative Solutions Investigative Services




    Creative Solutions Investigative Services, 520 Speedwell Avenue, Suite 107, Morris Plains, NJ 07950 (973) 404-0878
